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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
SEALED,                             )
                                    )
            v.                      )  No. 1:21-gj-00048 (BAH) (SEALED)
                                    )
SEALED.                             )
___________________________________ )

APPLICANT:              Giorgi Rtskhiladze
                        32 Old Bethel Road
                        Newtown, CT 06470

RELATED CASE: Rtskhiladze v. Mueller, et al., No. 1:20-cv-1591 (CRC)

          PETITIONER’S MOTION TO UNSEAL ALL RULE 60(b) MATERIALS
            AND FOR PRODUCTION OF HIS GRAND JURY TRANSCRIPT


         Petitioner, Giorgi Rtskhiladze, respectfully moves the Court (i) to unseal all Rule 60(b)

materials, including Petitioner’s Declaration, and (ii) for an order requiring the production of his

grand jury transcript. A Memorandum in Support is filed simultaneously as well as a proposed

order.

                                       Respectfully submitted,

                                       ______________________
                                       Jerome A. Madden
                                       THE MADDEN LAW GROUP PLLC
                                       1455 Pennsylvania Ave., NW, Suite 400
                                       Washington, DC 20004
                                       (202) 349-9836
                                       JMadden@TheMaddenLawGroup.com
Dated: January 22, 2022                District of Columbia Bar No. 272260
         Case 1:21-gj-00048-BAH Document 17 Filed 01/22/22 Page 2 of 2




                               CERTIFICATE OF SERVICE
       I, Jerome A. Madden, hereby certify that on January 22, 2022, I caused to be served using

the CM ECF system a copy of the Motion to Unseal upon the following counsel:

                                     Rebecca M. Kopplin
                                  U.S. Department of Justice
                                        Civil Division
                                     1100 L Street, N.W.
                                   Washington, D.C. 20005

                                       David W. Inkeles
                                  U.S. Department of Justice
                                 Civil Division, Torts Branch
                             P.O. Box 7146, Ben Franklin Station
                                   Washington, D.C. 20044

                                                          _________________
                                                          Jerome A. Madden
